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                   13   GLEN LITTLETON and the Class
                   14
                                                       UNITED STATES DISTRICT COURT
                   15
                                                    NORTHERN DISTRICT OF CALIFORNIA
                   16
                                                           SAN FRANCISCO DIVISION
                   17

                   18
                        IN RE TESLA, INC. SECURITIES                            Case No. 3:18-cv-04865-EMC
                   19   LITIGATION
                                                                                STIPULATION AND [PROPOSED] ORDER
                   20                                                           FOR CLASS CERTIFICATION

                   21

                   22

                   23           WHEREAS, by Order dated November 27, 2018, the Court appointed Glen Littleton

                   24   (“Littleton” or “Plaintiff”) as lead plaintiff in this action (Dkt. No. 152).

                   25           WHEREAS, on September 21, 2020, the Court entered an Order granting the parties’

                   26   stipulation that Plaintiff’s proposed class meets the requirements of numerosity and commonality

                   27   under Federal Rules of Civil Procedure 23(a)(1) and 23(a)(2) (Dkt. No. 288).

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COOLEY LLP
ATTORNEYS AT LAW                                                                          STIPULATION AND [PROPOSED] ORDER FOR
                                                                                                            CLASS CERTIFICATION
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                    1           WHEREAS, on September 22, 2020, Plaintiff filed his Motion for Class Certification (Dkt.
                    2   No. 289).
                    3           WHEREAS, Plaintiff asserts that his Motion for Class Certification presents facts and
                    4   arguments that the proposed class satisfies the prerequisites under Federal Rules of Civil Procedure
                    5   23(a) and 23(b)(3).
                    6           WHEREAS, the parties have conferred regarding class certification with respect to
                    7   Plaintiff’s claims and have agreed, subject to approval of the Court, to stipulate on the terms set
                    8   forth below to the certification of a class under Federal Rules of Civil Procedure 23(a) and 23(b)(3),
                    9   the appointment of the Class Representative under Federal Rule of Civil Procedure 23(a)(4), and
                   10   the appointment of Class Counsel under Federal Rule of Civil Procedure 23(g).
                   11           WHEREAS, for purposes of class certification only, Defendants stipulate that Tesla, Inc.
                   12   common stock, options, and other securities traded in an efficient market at all relevant times and
                   13   do not seek to rebut the presumption of reliance. The parties agree that, except for these purposes,
                   14   Defendants reserve all rights and defenses, objections, or arguments, including to the September
                   15   22, 2020 Expert Report of Michael L. Hartzmark and opinions contained therein, that may be
                   16   asserted in a summary judgment motion, in a Daubert motion, at trial or at any other stage of this
                   17   litigation.
                   18           WHEREAS, for purposes of class certification, Plaintiff and Defendants agree to the terms
                   19   and conditions set forth in this stipulation.
                   20           NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by counsel for
                   21   the parties listed below, subject to the approval of the Court, that:
                   22           1.      For purposes of class certification only, pursuant to Federal Rule of Civil Procedure
                   23   23(a)(3), the parties agree that the claims of Plaintiff are typical of the claims of the class because
                   24   he seeks to recover damages allegedly caused by the same alleged course of conduct.
                   25           2.      For purposes of class certification only, the parties agree that Plaintiff purchased or
                   26   sold Tesla, Inc. stock or options during the proposed Class Period of August 7, 2018 to August 17,
                   27   2018. The parties agree that pursuant to Federal Rule of Civil Procedure 23(a)(4), Plaintiff will
                   28   fairly and adequately protect the interests of the class. The parties also agree that Plaintiff’s
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                    1   proposed Class Counsel, the law firm of Levi & Korsinsky, LLP, is competent, experienced, and
                    2   will vigorously pursue its duties to the class.
                    3          3.      For purposes of class certification only, the parties agree that, pursuant to Federal
                    4   Rule of Civil Procedure 23(b)(3), questions of law or fact common to class members predominate
                    5   over any questions affecting only individual members, and a class action is superior to other
                    6   available methods for fairly and efficiently adjudicating the controversy.
                    7          4.      Based on the foregoing, the following class is certified: “All individuals and entities
                    8   who purchased or sold Tesla stock, options, and other securities from 12:48 p.m. EDT on August
                    9   7, 2018 to August 17, 2018 and were damaged thereby” (the “Class”).
                   10          5.      Excluded from the Class are: Defendants; the officers and directors of Tesla, Inc.
                   11   at all relevant times; members of their immediate families and their legal representatives, heirs,
                   12   successors, or assigns; and any entity in which Defendants have or had a controlling interest.
                   13          6.      Littleton is appointed Class Representative for the Class.
                   14          7.      Levi & Korsinsky, LLP is appointed Class Counsel for the Class.
                   15          8.      The parties reserve their right to seek alteration or amendment of this order pursuant
                   16   to Federal Rule of Civil Procedure 23(c).
                   17          9.      By entering into this Stipulation, Plaintiff and Defendants do not waive any
                   18   substantive defenses, objections, or arguments that otherwise could be asserted in a summary
                   19   judgment motion, in a Daubert motion, at trial or at any other stage of this litigation.
                   20          10.     Upon entry of this Order, the parties shall promptly meet and confer regarding an
                   21   appropriate form, content, and method of providing the notices to be disseminated to the Class
                   22   pursuant to Federal Rule of Civil Procedure 23(c)(2)(B).
                   23          11.     No later than sixty (60) days following the entry of this Order Certifying the Class,
                   24   the parties shall submit a mutually satisfactory stipulation and proposed order setting forth the
                   25   agreed-upon form, content, and method of providing the notices to be disseminated to the Class
                   26   pursuant to Federal Rule of Civil Procedure 23(c)(2)(B).
                   27          12.     If the parties are unable to reach an agreement regarding an appropriate form,
                   28   content, and method of providing notice to the Class, Plaintiff shall move for an order approving a
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                    1   proposed form, content, and method of providing notices to the Class pursuant to Federal Rule of
                    2   Civil Procedure 23(c)(2)(B) no later than sixty (60) days following the entry of this Order
                    3   Certifying the Class.
                    4

                    5    Dated: November 23, 2020                     COOLEY LLP
                    6                                                 By: /s/ Patrick E. Gibbs
                    7                                                     Patrick E. Gibbs

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                   21                                                 Brad W. Buss, Robyn Denholm, Ira Ehrenpreis,
                                                                      Antonio J. Gracias, James Murdoch, Kimbal
                   22                                                 Musk, and Linda Johnson Rice
                   23

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COOLEY LLP
ATTORNEYS AT LAW                                                                      STIPULATION AND [PROPOSED] ORDER FOR
                                                                       4                                CLASS CERTIFICATION
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                    1   Dated: November 23, 2020                         LEVI & KORSINSKY, LLP
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                                                                         Attorneys for Lead Plaintiff Glen Littleton and
                   20                                                    Lead Counsel for the Class
                   21         Pursuant to Civil Local Rule No. 5-1(i)(3), all signatories concur in filing this Stipulation.
                   22

                   23   Dated: November 23, 2020                              COOLEY LLP

                   24                                                         By: /s/ Patrick E. Gibbs
                                                                                  PATRICK E. GIBBS
                   25

                   26

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COOLEY LLP
ATTORNEYS AT LAW                                                                           STIPULATION AND [PROPOSED] ORDER FOR
                                                                          5                                  CLASS CERTIFICATION
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                    1          SO ORDERED. This fully resolves Plaintiff’s Motion for Class Certification, Dkt. No.
                    2   289.
                    3

                    4

                    5          November 25, 2020
                        Dated: __________________
                                                                           HON. EDWARD M. CHEN
                    6                                                      United States District Judge

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COOLEY LLP
ATTORNEYS AT LAW                                                                    STIPULATION AND [PROPOSED] ORDER FOR
                                                                      6                               CLASS CERTIFICATION
                                                                                               CASE NO. 18-CV-04865-EMC
